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                                  UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF PENNSYLVANIA



Secretary of Labor
Plaintiff                                                      Misc. No. 2:22-mc-1235
                                                              Case
                      V.
                                                              No.
                                                                       75-112

G.A.L. Construction
Defendant




                           ORDER GRANTING APPLICATION FOR PAYMENT
                                          OF UNCLAIMED FUNDS

The Court having considered the Application for Payment of Unclaimed Funds filed by:

NAME, ADDRESS AND PHONE NUMBER OF CLAIMANT:                           .t1
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The amount of$ 2075.8800 was awarded in this case which is currently unclaimed and held by the Clerk of
Court.

The Claimant is entitled to receive payment, and, these funds are now on deposit in the Treasury of the
United States, and that proper notice of the Application was given to the United States Attorney for the
Western District of Pennsylvania pursuant to Title 28 U.S.C. Section 2042,

IT IS THEREFORE ORDERED that the Clerk of the District Court direct the issuance of a draft upon the
Treasury of the United States in the amount stated above and payable to the Claimant.




                                                                        UNITED STATES DISTRICT JUDGE




                                                                                                Attachment (3)
